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       In the United States Court of Federal Claims
                                    Case No. 10-819C
                                (FILED: March 18, 2011)
                                   TO BE PUBLISHED


 ***************************                   *   Pre-Award Bid Protest; Tucker Act,
 CREWZERS FIRE CREW                            *   28 U.S.C. § 1491(b)(1); Simplified
 TRANSPORT, INCORPORATED,                      *   Acquisition Procedures, 41 U.S.C.
              Plaintiff,                       *   § 253(g); Blanket Purchase
                                               *   Agreements; Illusory Contract;
  v.                                           *   Option Contract; Use of Agency
                                               *   Cooperator (Local Government
 THE UNITED STATES OF AMERICA,                 *   Entities) in Lieu of Private Contractor;
              Defendant                        *   Stafford Act, 42 U.S.C. § 5150(a)(1);
                                               *   Federal Grant and Cooperative
                                               *   Agreement Act, 31 U.S.C. § 6303(1);
 ************************                          Waiver of Untimely Argument.


       Cyrus E. Phillips, IV, Arlington, VA, for Plaintiff.

      Armando A. Rodriguez-Feo, U.S. Department of Justice, Washington, D.C., for
Defendant. With him on the briefs were Tony West, Assistant Attorney General;
Jeanne E. Davidson, Director, Commercial Litigation Division; and Deborah A.
Bynum, Assistant Director. Azine Farzami, U.S. Department of Agriculture,
Washington D.C., Of-Counsel.

       John Bergen, Law Clerk.

                                         OPINION

BASKIR, Judge.

      This pre-award bid protest case arises out of a nationwide procurement
undertaken by the U.S. Forest Service (Forest Service), establishing regionally based
Blanket Purchase Agreements (BPAs) with various vendors for the purchase order of
crew carrier buses to be used in responding to forest fires and other emergencies.

       The parties have filed cross-motions for judgment on the administrative record,
pursuant to Rule 52.1 of the Rules of the U.S. Court of Federal Claims (RCFC).
Additionally, plaintiff, Crewzers Fire Crew Transport, Incorporated (Crewzers), has filed
a motion to enjoin the Forest Service from awarding the proffered BPAs, asserting that
the solicitation creates illusory agreements.
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      For the reasons given below, the defendant’s motion for judgment on the
administrative record is GRANTED. The plaintiff’s motion for judgment on the
administrative record and its request for injunctive relief are hereby DENIED.

                                     BACKGROUND

       The following summary provides background information on the procurement
and various administrative and procedural challenges pursued to date by Crewzers.
The information is gleaned directly from the administrative record filed in this case on
December 28, 2010. On February 28, 2011, the parties filed a Consolidated Statement
of Facts (CSF) summarizing those portions of the administrative records upon which
they have relied in their briefs.

I.     Summary of Acquisition

        On December 9, 2009, the Forest Service issued Solicitation AG-024B-S-10-
7000 (the solicitation), a National Interagency Fire Center Acquisition to obtain multiple
nationwide Preseason Incident BPAs. Administrative Record (AR) 1. The Forest
Service intended to rely upon the resulting BPAs in order to place orders for crew
carrier buses for local, regional, and nationwide wildfire suppression, as well as for “all-
hazard incidents,” including various threats and hazards, both natural and human-
caused. AR 12.

       The crew carrier buses contemplated by this procurement are school bus-type
vehicles that have been modified to accommodate a 22-person crew and its equipment,
up to 5,300 pounds. The operator of this vehicle will require advanced training and the
bus will be equipped for use on off-road conditions, unimproved roads, or highways, “in
mountainous, rangeland and timbered areas.” CSF ¶ 14; see also Declaration of
Pilgrim Guinn (Guinn Decl.) with attachments. According to the plaintiff, the costs to
purchase and retro-fit a school bus for this purpose could range from $30,000 to
$40,000, and up to $250,000 in expenses associated with repairing the entire fleet of
buses after the fire season. Guinn Decl. at ¶ 7.

      The agency chose to satisfy its needs through a Simplified Acquisition Procedure
requesting from interested vendors firm fixed-price quotations for the buses. Interested
vendors were required to submit their quotations online through the Virtual Incident
Procurement (VIPR) system. AR 445. The BPAs were awarded on the basis of a
“cascading set-aside procedure,” whereby preference would be given to eligible
HUBZone small business concerns and Service Disabled Veteran Owned Small
Business concerns, and then to other responsible small business concerns. Solicitation
§ B (Method of Award). Orders issued against awarded BPAs were to be made using
the same order of preference.

       The Forest Service desired to establish multiple BPAs for each of a number of
Host Dispatch Zones or Geographical Area Coordination Centers. AR 5. In the event
of forest fire or all-hazard incident, the dispatcher for the affected Host Dispatch Zone


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would place an order against one or more of the BPAs, in accordance with the ordering
protocol, or Dispatch Priority List (DPL). AR 17. Under the Solicitation, BPAs are
issued on a lowest-price basis. The DPLs give priority first to HUBZone small business
concerns, pursuant to 15 U.S.C. § 657a, with the lowest evaluated price from such an
entity to be ranked highest on the DPL. In the event there are insufficient HUBZone
vendors to meet the anticipated need, then orders are placed from small business
concerns, generally, which are likewise ranked by the DPL on the basis of price. AR 1;
6-7; 16.

        Orders placed against the BPA were limited to $150,000. AR 6; but see
Contracting Officer’s Statement, GAO Protest B.402530 and B.402530.2 (“The dollar
limitation for any individual order is $100,000"). The BPAs remain in effect for three
years, although the BPA holders have an opportunity each year to adjust their quoted
prices. AR 10. Although the anticipated need for crew carrier buses is between
February and November of each year, orders may be made against the BPA at any
time during the year. AR 10.

        In order to ensure availability of resources, the Forest Service required the BPA
holders to dedicate their proposed equipment to a particular host dispatch zone and
notify the dispatch center of the availability of each crew carrier bus located in the zone.
The buses are subject to inspection by the agency at the time of hire and prior to
passenger haul. AR 15-16. As with their prices, vendors were permitted to change
their host dispatch zone one time each year during the three-year BPA. AR 11-12.
Once dedicated, however, vehicles could not be swapped out of a particular host
dispatch zone at will. See AR 25 (Intermittent replacement of resources not allowed).
Those awarded BPAs were required in advance to provide a Vehicle Identification
Number (VIN) for the particular zone or zones in which they intended to supply crew
carrier buses. AR 5. Moreover, only one VIN could be used per zone, meaning the
vendor was not permitted to move its fleet of crew carrier buses from region to region,
based on where the need was expected to arise next. As government counsel put it,
the bus providers were prohibited from engaging in the practice of “fire-chasing.” Oral
Argument, March 11, 2011 (Oral Arg.) at 11:40. Accordingly, there was no prohibition
against bidding for multiple geographical areas, “but upon acceptance of an offer of an
award, all other offers for that resource category and/or type will be considered
withdrawn.” AR 7. Consequently, “[p]rospective offerors [were] cautioned to carefully
consider the solicitations to which they respond.” Id.

II.    Terms of Agreement

       In a section captioned Pricing and Estimated Quantity, the solicitation provides:

       Since the needs of the Government and availability of contractor’s
       resources during an emergency cannot be determined in advance, it is
       mutually agreed that, upon request of the Government, the contractor
       shall furnish the resources listed herein to the extent the contractor is
       willing and able at the time of the order. Due to the sporadic occurrence
       of Incident activity, the placement of any orders IS NOT GUARANTEED.


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AR 6 (Emphasis in original). The passage renders the obligation of the Government
conditional, at best, and that of the potential bus provider discretionary. The inherent
uncertainty in the need for these resources – and the seemingly inconsistent promise
that the contractor “shall” furnish the resources “if willing and able” – is echoed in other
provisions in the solicitation. For instance, in Section C, Agreement and Performance
Period, the solicitation reads: “Since the resource needs of the Government and
availability of contractor’s resources during an emergency cannot be determined in
advance, it is mutually agreed that, upon request of the Government, the Contractor
shall furnish the resources listed herein to the extent the Contractor is willing and able
at the time of order.” Solicitation, § C.3.1; AR 12.

        Presumably, the vendors awarded BPAs under this solicitation are in no way
compelled to respond to a request by the government in the event of a forest fire or all-
hazard incident. The solicitation merely provides that they are “responsible for
maintaining their current status by informing their host dispatch center of their
availability,” and “[w]hen contract resources are unavailable, the resources will not be
eligible for dispatch under the Agreement.” Solicitation § D (“Availability”); AR 17.
There is no mention of breach of contract or even termination of the BPA due to the
crew carrier bus vendor’s unavailability.

       The Forest Service’s obligation to place an order from among the BPAs is further
limited by the character of the incident and response. There are three exceptions to the
ordering protocol established by the solicitation:

       (A) For “initial attack,” defined as a “planned response to a wildfire given
       the wildfire’s potential fire behavior,” the objective of which is “to stop the
       spread of the wildfire and suppress it at least cost.” The initial attack is
       further characterized by “[a]n aggressive suppression action that is
       consistent with firefighter and public safety.” AR 29;

       (B) In recognition of Tribal preference policy applicable in certain
       reservation jurisdictions; and

       (C) Where fire conditions at the time of dispatch require deviation.

Solicitation, § D.6.1 (a)-(c); AR 17.

        During the “initial attack” phase of the response, the solicitation provides that
“dispatchers will follow the ‘closest forces’ concept and utilize locally available
resources according to agency and incident needs.” Solicitation, § D.6.1 (a).
Furthermore, “[t]he priority dispatch ranking may not be used during initial attack and
Contractor resources may or may not be used.” Id. For all other incidents the normal
priority rules remain in effect. See Solicitation § D.6.3.1 (“The Government intends to
dispatch contractor resources based on this priority ranking for other than initial attack.”)
However, the third exception, in section D.6.1 (c), appears to give the Incident




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Commander additional discretion, beyond the initial attack exception, to deviate from
the DPL. That provision reads, in full:

       Government normally will dispatch resources in accordance with this
       protocol; however, the number of fire orders in process and actual fire
       conditions at the time of dispatch may require a deviation from normal
       procedures in order to respond effectively to such conditions. Any such
       deviation will be within the discretion of Government, and will not be
       deemed a violation of any term or condition of this Agreement.

Solicitation, § D.6.1 (c).

        Finally, in addition to these explicit exceptions, the solicitation mandates more
liberally, at the outset of the ordering protocol, that “[t]his Agreement does not preclude
the Government from using any Agency or Agency Cooperator owned resources before
resources are mobilized under this Agreement.” Solicitation, § D.6. Thus the Forest
Service is not bound by the BPA established under this solicitation, but if it chooses to
use resources under the BPA, it must do so in accordance with the DPL. See
Solicitation § D.6.1 (“Each host dispatch center will give dispatch priority to the
resources offering the greatest advantage (See D.6.2) before all other private resources
not under Agreement with the following exceptions ...”).

III.   Initial Challenges to the Procurement

        On February 18, 2010, Crewzers filed a pre-award protest to the terms of the
solicitation with the Government Accountability Office (GAO). AR 436-44. The protest
was subsequently denied on the merits on May 17, 2010. AR 415-19. The allegations
and resulting recommendation of GAO are unrelated to the issues presently before us.

       Quotations were initially due on August 27, 2010. On that date, Crewzers filed a
another protest with GAO. The gravamen of these allegations was that the Forest
Service had exceeded its authority by placing certain restrictions upon the offerors. In
particular, the plaintiff dissented to the notion that it could be locked in as to the
vehicles it would use at various sites if, in fact, the BPA is not a contract. On
November 9, 2010, the GAO dismissed the protest without addressing the merits,
finding that the plaintiff had frustrated the protest process by raising allegations in a
piecemeal fashion, thereby causing delay. AR 83-84. One week later, on
November 16, 2010, the contracting officer announced via email message sent to all
prospective bidders: “[D]ue to all of the delays surrounding this solicitation you are now
authorized to make ANY changes to your quote,” including prices, dispatch locations,
and equipment. AR 72. With that announcement, the contracting officer set a new
deadline of November 23, 2010, for the submission of revised quotes. Id.

       This correspondence prompted yet another pre-award protest, this time an
agency-level protest, challenging the solicitation’s terms as illusory and unenforceable.
AR 73-74. In its letter to the contracting officer, Crewzers contended “[i]f it is mandatory
that each crew carrier be restricted to one (1) host dispatch center (arbitrary


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geographical boundary) for three (3) years, then it is mandatory that the agency provide
a return promise of payment for each crew carrier performance in doing so.” AR 74.
Without waiting for a response, Crewzers then submitted revised quotations for multiple
crew carrier buses over the Forest Service’s on-line VIPR System on November 23,
2010. AR 75-76. Contemporaneous with the submission of its revised quotation,
Crewzers sent to the Clerk of Court, U.S. Court of Federal Claims, a pre-filing notice of
its intention to file a bid protest. The plaintiff filed a Pre-Award Procurement Protest
Complaint with the Court on November 30, 2010.

       On December 22, 2010, the contracting officer advised offerors that a number of
bid protests had been filed, that the closing date for receipt of quotations would again
be adjusted, and that an award might be delayed until a decision is reached by the
Court on this and other pending bid protests. AR 77-78. She then issued a decision
formally denying the agency-level challenge to the solicitation’s terms, which had since
been overtaken by events. AR 81.

IV.   Procedural History

        The Court held a preliminary status conference on December 1, 2010, at which
time it appeared as though the parties might settle this dispute with minor revisions to
the language of the solicitation, to which the defendant appeared willing to agree.
These efforts broke down apparently, and on December 11, 2010, the plaintiff amended
its Complaint. In its Amended and Restated Pre-Award Procurement Protest Complaint
(“Am. Compl.”), Crewzers sets forth seven claims for relief, all related to the illusory
nature of the promises underlying the BPAs sought under the solicitation. The plaintiff
seeks:

      (1) a declaration that the defendant’s proffered BPAs “are illusory and
      unenforceable, lack a reasonable basis, are unreasonable or irrational,
      and thus are arbitrary and capricious;”

      (2) a permanent injunction ordering the defendant to conduct any further
      competition for these requirements with BPAs “which impose enforceable
      obligations both on the United States Forest Service and on Awardees of
      the proffered [BPAs]; and

      (3) a declaration that Crewzers is entitled to equitable relief, and money
      damages, for the defendant’s breach of an “implied-in-fact contract of
      good faith, fair dealing, and honest consideration” entered into between
      the Forest Service and Crewzers at the outset of this procurement
      process.

Am. Compl. at 28-29.

       We then held a second status conference and scheduled further proceedings in
the case. Pursuant to that schedule, the government filed an administrative record on
December 28, 2010. We allowed a corrected administrative record to be filed on


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January 7, 2011. On January 22, 2011, the plaintiff moved to supplement the
administrative record with an electronic message issued by the Forest Service on
January 20, 2011, during the pendency of the protest, in relation to the contested terms
of the Solicitation. The government did not object to supplementation, but proposed to
also include a letter sent to the plaintiff concerning the very matters addressed in the
electronic email. The plaintiff acquiesced to the government’s counter-proposal, and
we subsequently allowed the proposed additions to the record.

      The parties filed cross-motions for judgment on the administrative record in
accordance with RCFC 52.1. Briefing was completed on February 28, 2011, and we
heard oral argument on the cross-motions on March 11, 2011.

                                      DISCUSSION

I.     Applicable Legal Standards

       Pursuant to 28 U.S.C. § 1491(b)(1), the U.S. Court of Federal Claims possesses:

       jurisdiction to render judgment on an action by an interested party
       objecting to a solicitation by a Federal agency for bids or proposals for a
       proposed contract or to a proposed award or the award of a contract or
       any alleged violation of statute or regulation in connection with a
       procurement or proposed procurement [,] ... without regard to whether suit
       is instituted before or after the contract is awarded.

Id.

        In exercising our bid protest jurisdiction, we review a procuring agency’s
determinations under the standard set forth in the Administrative Procedures Act (APA),
5 U.S.C. § 706(2)(A). See 28 U.S.C. § 1491(b)(4); Impresa Construzioni Geom.
Domenico Garufi v. United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001). The standard
of review under the APA is exceedingly narrow. Citizens to Preserve Overton Park,
Inc. v. Volpe, 401 U.S. 402, 416 (1971). Accordingly, we may only set aside an action
or decision of the agency if it is “arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law.” Banknote Corp. of Am. v. United States,
365 F.3d 1345, 1350-51 (Fed. Cir. 2004) (quoting 5 U.S.C. § 706(2)(A)); Fru-Con
Constr. Co., Inc. v. United States, 57 Fed. Cl. 483, 485 (2003). Our analysis considers
whether: “(1) there was subjective bad faith on the part of procurement officials;
(2) there was a reasonable basis for the procurement decision; (3) the procuring
officials abused their discretion; and (4) pertinent statutes or regulations were violated.”
Metric Sys. Corp. v. United States, 42 Fed. Cl. 306, 310 (1998) (citing Keco Indus.,
Inc. v. United States, 492 F.2d 1200, 1203-04 (Ct. Cl. 1974)).




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       In alleging error, the protestor must do more than identify circumstances where
the agency made a mistake. When challenging a procurement decision as arbitrary
and capricious, for example, the protestor must establish that such a mistake was so
excessive as to fall outside the decision-maker’s ambit of discretion. In other words, a
protestor must demonstrate that there was no rational basis for the agency’s
determination. Banknote Corp. of America v. United States, 365 F.3d 1345, 1351 (Fed.
Cir. 2004) (quoting Impresa Construzioni , 238 F.3d at 1332-33); see also Baird Corp. v.
United States, 1 Cl. Ct. 662, 664 (1983).

        When the protestor claims the agency’s actions were not in accordance with law,
it must establish a “clear and prejudicial violation of applicable statutes or regulations.”
Banknote Corp., 365 F.3d at 1351; Advanced Data Concepts, Inc. v. United States,
216 F.3d 1054, 1057 (Fed. Cir. 2000). In the typical post-award context, this burden is
met with evidence demonstrating that “but for the error, [they] would have had a
substantial chance of securing the contract.” Labatt Food Serv., Inc. v. United States,
577 F.3d 1375, 1378 (Fed. Cir. 2009) (citations omitted); Alfa Laval Separation, Inc. v.
United States, 175 F.3d 1365, 1367 (Fed. Cir. 1999) (quoting Statistica, Inc. v.
Christopher, 102 F.3d 1577, 1582 (Fed. Cir. 1996)). However, in a pre-award protest
such as the present case, in which the solicitation is challenged, the prospective bidder
must establish only “a non-trivial competitive injury which can be redressed by judicial
relief.” Weeks Marine, Inc. v. United States, 575 F.3d 1352, 1363 (Fed. Cir. 2009)
(adopting standard articulated in WinStar Communications, Inc. v. United States,
41 Fed. Cl. 748 (1998)).

       The parties have filed cross-motions for judgment on the administrative record,
pursuant to RCFC 52.1. The procedural posture of this case dictates that the Court
resolve questions of fact by reference to the administrative record, as if the Court were
conducting a paper trial on that record. See Bannum, Inc. v. United States, 404 F.3d
1346, 1354-56 (Fed. Cir. 2005).

II.    Blanket Purchase Agreements (BPAs)

       Part 13 of the FAR establishes procedures for simplified acquisitions. Pertinent
to the present case, section 13.303-1(a) of the FAR defines the BPA as “a simplified
method of filling anticipated repetitive needs for supplies or services by establishing
‘charge accounts’ with qualified sources of supply.” FAR § 13.303-1(a). These charge
accounts are established as an administrative convenience with multiple vendors “so
purchases can thereafter be made without having to issue individual purchase
documents each time.” Mid-America Officials Ass’n., 89-3 BCA ¶ 22,231 (1989); see
also 2 GOVT CONTRACT AW ARDS § 2:16 (Purpose of the BPA “is to reduce administrative
costs, improve opportunities for small business concerns, to promote efficiency and
economy in contracting, and to avoid undue burdens for agencies and contractors.”)

       The blanket purchase agreement is not a contract. Mid-America Officials Ass’n.,
89-3 BCA ¶ 22,231 (1989). It is instead a collection of provisions that may mature into
a contract between the government and a supplier if and when a purchase order – in


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this case, a “resource order” -- is entered into by each. See Potomac Computers
Unlimited, Inc., 94-1 BCA ¶ 26,304 (1993); Prod. Packaging, 03-2 BCA ¶ 32,388
(2003).

III.   Illusory Contract Argument

        Crewzers has cast the entire BPA scheme established by the Forest Service as
an unlawful endeavor, insofar as the solicitation contains language of agreement which
is both illusory and unenforceable. Am. Compl. ¶¶ 4. According to the plaintiff the
procurement itself, therefore, “lacks a rational basis, and is unreasonable or irrational,
and thus arbitrary and capricious.” Id. at ¶ 5. Furthermore, complains Crewzers, the
unenforceable, illusory promises in the challenged BPAs violate various procurement
statutes and regulations because they fail to promote competition, efficiency and
economy in contracting, frustrate the contracting officer’s ability to arrive at price
reasonableness determinations and result in a breach of the contracting officer’s duty to
treat offerors fairly. See id. at ¶¶ 5(c)-(g) (citing Competition in Contracting Act,
41 U.S.C. § 253 (g)(1) and FAR §§ 1.102(b)(3); 1.1.102-2(c)(3) and 13.106-3(a)).

        The plaintiff’s pleadings rely heavily on the case Ridge Runnner Forestry v.
Veneman, 287 F.3d 1058 (Fed. Cir. 2002). That case involved so-called “tender
agreements,” entered into pursuant to a Request for Quotations (RFQ) between the
Forest Service and Ridge Runner Forestry, a fire protection company that sought to
lease equipment to the Forest Service in the event of a wildfire. Several clauses of the
RFQ, incorporated into the agreements, were at issue there: (1) a statement that an
award of a tender agreement “does not preclude the Government from using any
agency or cooperator or local [Emergency Equipment Rental Agreement] resources;”
(2) a statement that the award “does not guarantee there will be a need for the
equipment offered nor does it guarantee orders will be placed against awarded
agreements;” and (3) a provision which allowed the contractor to decline any agency-
requested equipment rental for any reason. Id. at 1060. With respect to this last
clause, “it [was] mutually agreed that, upon request of the government, the contractor
shall furnish the equipment offered ... to the extent the contractor is willing and able at
the time of order.” Id. (Emphasis supplied by opinion.)

       It is important to note that the case is not a bid protest, nor does it involve pre-
award activity. Instead Ridge Runner attempted to invoke the jurisdiction of the
Department of Agriculture Board of Contract Appeals in order to challenge the fact that
the vendor had been systematically excluded, not having been called upon pursuant to
the tender agreement for four years running. Id. The question presented in that matter
was whether there was, in fact, a contract needed to give the Board jurisdiction. The
Board found that the tender agreement was not a valid contract. The Court of Appeals
agreed, reasoning:

       To be valid and enforceable, a contract must have both consideration to
       ensure mutuality of obligation ... and sufficient definiteness so as to
       “provide a basis for determining the existence of a breach and for giving
       an appropriate remedy.” Ace Federal Reporters, Inc. v. Barram, 226 F.3d


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       1329, 1332 (Fed. Cir. 2000) (internal citations omitted.) “To constitute
       consideration, a performance or a return promise must be bargained for.”
       RESTATEMENT (SECOND ) OF CONTRACTS § 71 (1) (1979). And the “promise
       or apparent promise is not consideration if by its terms the promisor or
       purported promisor reserves a choice of alternative performances....” Id.
       § 71 .

Ridge Runner, 287 F.3d at 1061. As the Court of Appeals observed, “[t]he government
had the option of attempting to obtain firefighting services from Ridge Runner or any
other source, regardless of whether that source had signed a tender agreement.” Id.
Likewise, the agreement “placed no obligation upon Ridge Runner ... If the government
came calling, Ridge Runner ‘promised’ to provide the requested equipment only if it was
‘willing and able.’” Id. at 1062. “It is axiomatic,” reasoned the Court, “that a valid
contract cannot be based upon the illusory promise of one party, much less illusory
promises of both parties.” Id. (citations omitted).

       It is well established that a contract is not formed under these circumstances.
As the Federal Circuit has held, “a route of complete escape vitiates any other
consideration furnished and is incompatible with the existence of a contract.” Torncello
v. United States, 681 F.2d 756, 769 (Fed. Cir. 1982). While Crewzers has challenged
both the illusory nature of the Forest Service’s obligations and those of the suppliers
under the proposed BPA, the plaintiff’s primary criticism of this solicitation has focused
on the company’s own “route of complete escape.”

        First, Crewzers argues that under FAR 13.303-3(a)(1), awardees of BPAs are
required to accept orders placed against the BPAs. Consequently, the “willing and
able” language of the solicitation transmutes what is intended to be a binding obligation
into an illusory promise. Plaintiff’s Brief in Support of Plaintiff’s Motion for Judgment on
the Administrative Record (Pl. Br.) at 29-30. Second, according to the plaintiff, the
proffered BPAs are illusory and unenforceable because they “unlawfully reserve for the
United States Forest Service Contracting Officer a choice of alternative performances,”
including: the right to rely on agency cooperators; the ability to discard the dispatch
priority ranking in favor of the “closest forces” concept in cases of “initial attack;” and the
right to modify rankings and ordering procedures. See id. at 30-32 (citing Ridge
Runner, 287 F.3d at 1061 and AR 15-16).

       The plaintiff’s arguments must fail where, as here, the alleged illusory promises
are not – and do not purport to be – part of a binding agreement giving the plaintiff
exclusive contractual rights. The chosen procurement vehicle is, by definition, not a
contract. See Zhengxing v. United States, 71 Fed. Cl. 732, 738, (2006) (Holding there
was no factual or legal predicate establishing jurisdiction under the Contract Disputes
Act (“CDA”), 41 U.S.C. § 609, because BPA is not a contract), aff’d, 204 Fed. Appx.
885, 2006 WL 3228605 (Fed. Cir. Nov. 8, 2006); Mid-America Officials Ass’n.,
89-3 BCA ¶ 22,231 (1989) (“[T]he issuance of a BPA to appellant was not a promise or
representation that needs for officiating services would be purchased only from
appellant during the term of the BPA.”)



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        With the Ridge Runner case, Crewzers establishes no more than the fact that
nearly identical terms in an earlier iteration of the Forest Service’s agreement were
likewise not binding upon the parties entering into them. We note that Ridge Runner,
like other cases cited by the parties, does not actually involve a formal BPA, a
distinction without a difference for the purposes of this discussion. See Modern Sys.
Tech. Corp. v. United States, 24 Cl. Ct. 360 (1991) (“Basic pricing agreements” held not
binding on parties), opinion adopted, 979 F.2d 200 (Fed. Cir. 1992); Zhengxing, 71 Fed.
Cl. at 738 n.19 (analogizing blanket purchase agreements and basic pricing
agreements). In any event, the government embraces the Federal Circuit’s holding that
these types of agreements are not meant to bind either party.

       We agree. In the typical case, the BPA is “merely a framework for future
contracts and only creates a contractual obligation with regard to accepted orders.”
Zhengxing v. United States, 204 Fed. Appx. 885, 886-87, 2006 WL 3228605 (Fed. Cir.
Nov. 8, 2006) (Emphasis added). We concur with Crewzers’ own assessment that this
BPA contains illusory rights and responsibilities. It is meant to do no more. Future
terms are spelled out, but performance is not guaranteed. The BPA, therefore, “lacks
the mutual intent to form a binding contract.” See id. (citing Modern Sys. Tech. Corp. v.
United States, 979 F.2d 200, 202-04 (Fed. Cir. 1992)); see also Cardiometrix, 94-1 BCA
¶ 26269 (1993) (Blanket purchase agreement “lacks an ingredient that is essential for
the formation of a contract, namely, mutual consideration.”)

       Indeed, the FAR goes so far as to set forth mandatory terms and conditions for a
BPA, which make it abundantly clear that the BPA carries no guarantee of
performance. Notable among these is the requirement to include “[a] statement that the
supplier shall furnish supplies or services, described in general terms, if and when
requested by the contracting officer ... during a specified period and within a stipulated
aggregate amount, if any. FAR § 13.303-3(a)(1) (Emphasis added). In that same vein,
the FAR provides that the BPA must state “that the Government is obligated only to the
extent of authorized purchases actually made under the BPA.” Id. at § 13.303-3(a)(2)
(Emphasis added).

       Given all of these authorities supporting the government’s chosen procurement
method, we strained to understand the plaintiff’s objections to the BPA. In its simplest
terms, Crewzers now argues that to be a valid BPA under the FAR, the agreement is
binding on the party supplying the service, but not upon the government. In making this
argument, plaintiff selectively ignores its earlier contrary position that the Forest
Service is bound to seek its resources from among BPA-holder resources, and may not
reserve the right to use agency cooperators.

       The language of the FAR upon which the plaintiff relies for its premise -- “the
supplier shall furnish supplies or services, described in general terms, if and when
requested by the contracting officer” -- is plucked out of context from a section of the
regulation governing the level of detail required in describing the items to be furnished
in the event a purchase order is made against the BPA. See FAR 13.303-3(a)(1).
Read in light of the entire passage, which sets forth a menu of items and formats to be
used in preparing a BPA, this provision contemplates that a purchase order has been


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entered into by the parties. It is not, as the plaintiff suggests, based on its parsed
reading of FAR 13.303-3(a)(1), a clause making acceptance of all purchase orders
mandatory on the part of the supplier.

       In fact, it is universally understood – among courts, various boards of contract
appeals and noted authorities in the field of procurement law – that a BPA obligates
neither party until such time as an individual purchase order is issued by the
government and accepted by the contractor. See e.g., Potomac Computers, 94-1 BCA
¶ 26,304 (1993) (Recognizing that vendor could refuse to accept call for services);
Julian Freeman, 94-3 BCA ¶ 27280 (1994) (“Under a BPA, neither party actually
commits itself nor assumes any duty toward the other.”); BPAs vs. IDIQs: An Interesting
Choice, 24 NASH & CIBINIC REPORT ¶ 26 (In broader discussion of pros and cons of
BPAs commentator notes: “Of course, using this technique means that the contractor is
not contractually bound but that is of little concern to an agency when there are multiple
contractors capable of performing the work.”)

       As this Court has recognized, in the context of a failed attempt to invoke the CDA
with a BPA, only accepted orders create contractual obligations. See Zhengxing,
71 Fed. Cl. at 738, n.21 (distinguishing umbrella BPA from individual purchase order
“which can give rise to a contract.”); see also FAR § 13.302-3 (a) (“When it is desired to
consummate a binding contract between the parties before the contractor undertakes
performance, the contracting officer shall require written acceptance of the purchase
order by the contractor.”) Accordingly, to the extent Crewzers contends that a BPA is
valid only if it imposes a unilateral obligation to perform on the supplier, we reject this
plank of the plaintiff’s argument. There is simply no precedent favoring the view that a
BPA is a contract which binds one party and not the other. As Ridge Runner, Modern
Systems Technology, Zhengxing, and many other decisions before them have held,
there is no mutuality of consideration in such a case. See Zhengxing v. United States,
204 Fed. Appx. 885, 886-87, 2006 WL 3228605 (Fed. Cir. Nov. 8, 2006) (citing Modern
Sys., 979 F.2d at 202-04). Crewzers has conceded as much.

IV.    Newly Raised “Option Contract” Argument

        Crewzers contends, late in the briefing cycle, that the Forest Service’s BPAs are
akin to option contracts, which can be accepted by Crewzers’ partial performance over
a period of time without further intervention on the part of the government. See
Plaintiff’s Reply Brief in Opposition to Defendant’s Cross-Motion for Judgment on the
Administrative Record (“Pl. Opp.”) at 1-8.

        Our consideration of this case has been frustrated in large part by the changing
landscape of plaintiff’s theories. The plaintiff has progressed from its reliance on Ridge
Runner and the insistence that the government must be bound to its promises, to an
apparent concession that the Forest Service is not required to commit to use the
plaintiff’s resources when the agreement is formed. See Discussion, para. III. For the
very first time in this case, the Table of Contents of plaintiff’s reply brief includes an
entirely different claim: “These Proferred (sic) Multiple Preseason Incident Blanket
Purchase Agreements Are Option Contracts Enforceable Because They Induce Actions


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Of A Substantial Character.” Plaintiff’s Reply Brief in Opposition to Defendant’s Cross-
Motion for Judgment on the Administrative Record (Pl. Reply) at ii.

        This amalgamation of plaintiff’s theories is waived by counsel’s failure to
articulate the argument in either of its complaints or in its main brief. The Court
requires parties to abide by its Special Procedures Order, which provides that “[a]
moving party’s reply brief is limited to responding to matters contained in the other
party’s opposition brief.” Special Procedures Order ¶ 9. As counsel was made aware,
he must request leave of Court to advance new arguments in reply briefs, and such
requests are disfavored. Id. When questioned about his tactics at oral argument,
counsel for plaintiff conceded that he was in violation of the Court’s Special Procedures
Order. Oral Arg. at 10:31-10:33. He explained that he came up with the option contract
argument because he was dissatisfied with his original argument and could not find
cases in support of his position. Oral Arg. at 10:30-10:31.

        These newly minted theories would have made no difference in our result. The
plaintiff reasons that the BPAs implicated in this procurement may actually be
characterized as option contracts. This is because the requirements associated with
becoming a valid BPA holder induce actions of a substantial character on the part of the
offeror, in particular the perceived requirement to set aside a dedicated vehicle in the
host dispatch zone. Pl. Opp. at 4-5. At the oral argument, counsel for plaintiff
articulated his client’s substantial or partial performance and further expounded on his
novel theory of how this procurement should operate. Crewzers, or any other supplier
with a BPA for that matter, “performs” the purported contract when it provides the
information concerning its vehicles (VIN, license number, make and year, and
Department of Transportation inspection date) on the form in the VIPR system, see
AR 5, hires and trains an operator, and drives the bus to the host dispatch center – or
at least in the vicinity of that center – to “wait for a phone call” in the event of wildfire or
all-hazard incident. Oral Arg. at 10:37-10:38; 11:37-11:40. According to the plaintiff,
these actions constitute partial performance and, thereby, form a binding contract
subjecting the supplier to potential breach in the event it fails to provide the identified
crew carrier bus upon request by the Forest Service. The government follows through
on its reciprocal contractual obligations as soon as it places an order from a supplier in
accordance with the established DPL. Oral Arg. at 10:44-10:45.

       The plaintiff has had longstanding objections to the requirement that it dedicate a
vehicle to a specific host dispatch zone. It has tailored them to fit its new theory that
the solicitation calls not for BPAs, but option contracts. The latter presumably imposed
obligations upon the Forest Service once Crewzers mobilized its resources in response
to the RFQ. Among the cases cited by the plaintiff is Wesleyan Co. v. Harvey, 454 F.3d
1375, 1378-79 (Fed Cir. 2006), a case in which the Court of Appeals ruled that certain
purchase orders were procurement contracts because they involved “the exchange of
money.” Id. at 1378. Crewzers’ option contract analogy, and its reliance on this case,
is unavailing. The BPAs here may result in a purchase order, but until that time in
which the transportation services are actually required and an agreement based upon
prearranged prices is struck, neither the Forest Service nor the contractors is obligated
to perform the transportation services contemplated under the BPA. Unlike the


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agreement at issue in Wesleyan, no funds are committed unless and until an order is
placed against a BPA. Compare FAR § 13.303-3 (BPA preparation instructs omitting
accounting and appropriation data.) and FAR § 13.303-5 (In making purchases under
BPAs “cite the pertinent purchase requisitions and the accounting and appropriation
data.”)

       Crewzers also relied upon Schism v. United States, 316 F.3d 1259, 1304 (Fed.
Cir. 2002) in support of the argument that partial performance by the party seeking a
BPA with the agency creates a binding contract and, therefore, establishes an option
contract scenario. In the Schism case, the Federal Circuit concluded that an
enlistment contract held the promise of military benefits, which became binding when
the potential service member accepted the enlistment contract. There is no parallel to
the Forest Service’s solicitation – or to the characteristics of a BPA, as described in the
FAR -- which may or may not result in purchase orders by the government. See FAR
13.302-1 (Addressing purchase orders, generally); FAR 13.004 (“[I]ssuance by the
Government of an order in response to a supplier’s quotation does not establish a
contract ... A contract is established when the supplier accepts the offer.”)

       There is no support in the administrative record that the parties intended to enter
into an option contract. Nor does the administrative record evidence any intent to settle
on a requirements contract of the sort involved in Ace-Federal Reporters, Inc. v.
Barram, 226 F.3d 1329 (Fed. Cir. 2000). See Ridge Runner, 287 F.3d at 1061
(Distinguishing the tender agreements involved from requirements contracts). To the
contrary, the solicitation was clear and unambiguous in its statement that “[d]ue to the
sporadic occurrence of incident activity, the placement of any orders IS NOT
GUARANTEED.” AR 6 (Emphasis in original). It is clear from the record that the BPA
was specifically desired by the agency in lieu of a binding contract. See Potomac
Computers, 94-1 BCA ¶ 26,304 (1993) (“That a blanket purchase agreement, rather
than a firm contract, was intended was clear from the terms of the solicitation and its
recurring use of that term – ‘blanket purchase agreement.’”).

V.     Contracting Officer Determinations

        Crewzers vaguely argues that the solicitation should be set aside for its violation
of various FAR requirements, unrelated to those addressed above. For instance, the
plaintiff contends that the illusory characteristics of the resulting agreements will
necessarily render the contracting officer’s price reasonableness and responsibility
determinations irrational. The entire basis for this challenge lies in the assumption that
the offerors cannot be held to their end of the bargain if they are required to perform
under the stated qualifications and prices only if they are “willing and able” at the time of
the purchase order. We reject these contentions as merely fly-specking the solicitation.

VI.    Cooperative Agreements

       Finally, Crewzers argues that the Forest Service’s solicitation violates a statutory
preference for the use of local private contractors in responding to all-hazard incidents,
established by the Robert T. Stafford Disaster Relief and Emergency Assistance Act,


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42 U.S.C. § 5150 (a)(1) (“Stafford Act”). Alternatively, Crewzers contends that the use
of local governmental entities via cooperative agreements results in an improper non-
competitive procurement contract in violation of the Federal Grant and Cooperative
Agreement Act, 31 U.S.C. § 6303(1). Pl. Br. at 32-35. We review each of these
authorities briefly.

          First, the Stafford Act provides, in pertinent part:

          In the expenditure of Federal funds for debris clearance, distribution of
          supplies, reconstruction, and other major disaster or emergency
          assistance activities which may be carried out by contract or agreement
          with private organizations, firms, or individuals, preference shall be given,
          to the extent feasible and practicable, to those organizations, firms and
          individuals residing or doing business primarily in the area affected by
          such major disaster or emergency.

42 U.S.C. § 5150 (a)(1) (Emphasis added). Substantially the same language appears
in the FAR, which requires the defendant to apply the Stafford Act preference “when
awarding emergency response contracts,” either through a local area set aside or as an
evaluation preference. FAR § 26.202.

        Crewzers argues that the solicitation -- in particular, the provision that reads
“[t]This Agreement does not preclude the Government from using any Agency or
Agency Cooperator owned resources before resources are mobilized under this
Agreement.” – violates the statutory preference. See Solicitation, §D.6 (“Ordering
Protocol for Resources.”)

          Turning to the Federal Grant and Cooperative Agreement Act, that authority
states:

                 An executive agency shall use a procurement contract as
                 the legal instrument reflecting a relationship between the
                 United States Government and a State, a local government,
                 or other recipient when –

                 (1) the principal purpose of the instrument is to acquire (by
                 purchase, lease, or barter) property or services for the direct
                 benefit or use of the United States Government; or

                 (2) the agency decides in a specific instance that the use of
                 a procurement contract is appropriate.

31 U.S.C. § 6303.

      The plaintiff contends that this statute is violated because the solicitation
expressly permits the Forest Service to use crew carrier buses from potential local
agency sources, outside the reach of the BPA, presumably relying upon pre-existing


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cooperative agreements as opposed to contracts entered into using competitive
acquisition procedures. Pl. Br. at 34-35.

       According to Crewzers, the Interagency Agreement for Wildland Fire
Management (“Interagency Agreement”), an agreement entered into by various
agencies in both the Department of Interior and Department of Agriculture, “explains
that the statutory authority” of the Forest Service and of other agencies to respond to
all-hazard incidents “is given in the [Stafford Act].” Pl. Br. at 20. But the Interagency
Agreement contains no such explanation nor does it purport to limit the authority of
governmental entities to join forces in their response to fires or all-hazard incidents.
The statute is mentioned only once under the “Objective” caption of the agreement.
See Interagency Agreement, ¶ III (A) (“To provide a basis for cooperation among the
agencies on all aspects of wildland fire management, and in all-hazard emergency
support function activities as requested and authorized under the [Stafford Act].”);
AR 421.

        As the defendant noted in its response to plaintiff’s motion, there are numerous
authorities permitting cooperation among Federal agencies for fire protection, in
general. Defendant’s Motion for Judgment Upon the Administrative Record and
Response to Plaintiff’s Motion for Judgment on the Administrative Record (Def. Br.) at
17 (citing Reciprocal Fire Protection Act, 42 U.S.C. §1856a and Timber Protection
Act,16 U.S.C. § 594). Interagency agreements of this type signal an effort on the part
of responsible agencies “to achieve more productive, cost effective and efficient
operations among these partnering agencies.” AR 420. Crewzers does not seriously
dispute that the Forest Service may partner with other Federal agencies in responding
to fires and all-hazard incidents without violating the law. The plaintiff’s challenge is
aimed more directly at the use of “agency cooperators,” defined as “[l]ocal Government
entities available through agreement to assist the Federal and State Government
agencies.” AR 27.

        We find the disclaimer in the ordering protocol, which explicitly acknowledges
that interagency agency cooperative agreements might be relied upon in lieu,
particularly during “initial attack,” complies with applicable procurement law. According
to the plaintiff, the defendant may not carve out this broad exception because it turns
the Stafford Act preference on its head. We reject this argument.

       We do not interpret the Stafford Act to establish a preference for local private
vendors vis á vis local governmental entities or agency cooperators. Rather, the statute
was intended to promote the use of local contractors over non-local contractors. See
42 U.S.C. § 5150(a)(1) (“In the expenditure of Federal funds for ... and other major
disaster or emergency assistance activities which may be carried out by contract or
agreement with private organizations, firms, or individuals,...”.) When it reaches out to
agency cooperators, the government is not contracting but rather coordinating
resources as part of a unified response to an all-hazard incident.




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       For this same reason, we disagree with the plaintiff on the applicability of the
Federal Grant and Cooperative Agreement Act. The policy reflected in the solicitation
merely recognizes that in certain situations it is not advisable to limit in advance the
Forest Service’s response options. Furthermore, the existence and parameters of any
cooperative agreement between the Forest Service and an agency cooperator for the
purchase, lease or barter of carrier crew buses, is purely conjectural at this juncture. If
and when the government enters into such an arrangement, the plaintiffs may seek any
remedies available to it. On the current record, however, there is no violation of the
statute.

                                      CONCLUSION

       The plaintiff’s entire protest is built on the faulty assumption that in order to
withstand scrutiny under our standards of administrative review, the Forest Service’s
BPA must possess the qualities of a binding contract. We reject this assumption.

       The Court, therefore, finds in favor of the government. The defendant’s cross-
motion for judgment on the administrative record is hereby GRANTED. The plaintiff’s
motion for judgment on the administrative record is hereby DENIED, as are its requests
for permanent injunction and bid preparation and proposal costs.

      The Clerk of the Court is directed to enter judgment in favor of the defendant.
Each party is to bear its own costs of litigation.

       IT IS SO ORDERED.

                                           s/ Lawrence M. Baskir
                                          LAWRENCE M. BASKIR
                                                   Judge




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